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         Part IV: Physical Characteristics


          Traffic Lanes Crossing Railroad
          2



          Traffic Lanes Crossing Railroad (Specify Type)
          One-way Traffic


          Is Roadway/Highway Paved
          Yes



          Does Track Run Down a Street?
          Yes



          Is Crossing Illuminated? (Street lights within approx.
          50 feet from nearest rail)
          No



          Crossing Surface (on Main Track, multiple types
          allowed) - Installation Date
          N/A


          Crossing Surface - Width
          N/A


          Crossing Surface - Length
          N/A


          Crossing Surface (Specify Type)
          2. Asphalt


          Other Crossing Surface
          N/A


          Intersecting Roadway within 500 feet?
          Yes




          If Yes, Approximate Distance (feet)
          N/A


          Smallest Crossing Angle
          60-90 degrees
